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                                                        UNITED STATES DISTRICT COURT
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                                                                 DISTRICT OF NEVADA
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                                                                                 2:13-CR-83 JCM (CWH)
                  8        UNITED STATES OF AMERICA,

                  9                        Plaintiff(s),
                10         v.
                11
                           DERRICK PHELPS, CYNTHIA
                12         PHELPS, and LINDA MACK,
                13                         Defendant(s).
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                15                                                           ORDER
                16              Presently before the court are defendant’s objections to Magistrate Judge Hoffman’s reports
                17    and recommendations, (doc. # 75, 76), in response to defendant’s1: (1) motion to dismiss the
                18    indictment due to investigative misconduct and delay, (doc. # 50) and (2) motion to dismiss count
                19    one of the indictment as time barred under the statute of limitations, (doc. # 49).2
                20    I.        Background
                21              On March 6, 2013, the grand jury indicted the defendant, charging her in count one with
                22    conspiracy to commit bank fraud, mail fraud, and wire fraud in violation of 18 U.S.C. section 1349.
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                                Co-defendants Derrick and Cynthia Phelps filed the underlying motions, to which defendant Linda Mack
                24    joined. The Phelps defendants have since entered guilty pleas. (Docs. # 93, 94). Accordingly, the court analyzes these
                      motions with respect to defendant Mack only.
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                26              2
                                 The defendant also challenges the magistrate judge’s order denying her motion to compel the production of
                27    grand jury transcripts. Because the magistrate judge is authorized to make a final ruling on a motion to compel, the issue
                      is not properly before this court. If the defendant desires to challenge that ruling, she must do so by filing a separate
                      motion to reconsider. See special order 109(III)(F)(4).
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                  1   The government alleges that from in or about January 2003, to in or about November 2006, the
                  2   defendant, through approximately “233 transactions with a combined purchase price in excess of
                  3   $83,000,000.00,” participated in a conspiracy to obtain mortgage loans from lenders by “causing
                  4   materially false information to be placed in the buyers’ mortgage loan applications and supporting
                  5   documentation[,] causing money from the mortgage loans to be disbursed to [the] defendant’s own
                  6   use and benefit.” (Doc. # 76).
                  7   II.    Legal Standard
                  8          This court “may accept, reject, or modify, in whole or in part, the findings or
                  9   recommendations made by the magistrate.” 28 U.S.C. § 636(b)(1). Where a party timely objects
                10    to a magistrate judge’s report and recommendation, then the court is required to “make a de novo
                11    determination of those portions of the [report and recommendation] to which objection is made.”
                12    28 U.S.C. § 636(b)(1).
                13    III.   Discussion
                14           A.      Investigative Misconduct
                15           There are two available theories under which an indictment can be dismissed as a result of
                16    prosecutorial misconduct: (1) when the government’s conduct is so extreme and outrageous that it
                17    constitutes a due process violation and (2) under the court’s supervisory powers. United States v.
                18    Chapman, 524 F.3d 1073, 1084 (9th Cir. 2008).
                19           In the court’s supervisory role, there are three legitimate bases for the exercise of the
                20    supervisory power over prosecutorial discretion: (1) to implement a remedy for the violation of a
                21    recognized statutory or constitutional right; (2) to preserve judicial integrity by ensuring that a
                22    conviction rests on appropriate considerations validly before a jury; and (3) to deter future illegal
                23    conduct. Id. at 1085 (quoting United States v. Simpson, 927 F.2d 1088, 1090 (9th Cir. 1991)).
                24    Dismissal of an indictment is proper only when there is “flagrant” and “substantially prejudicial”
                25    misconduct. United States v. Jacobs, 855 F.2d 652, 655 (9th Cir. 1988). Furthermore, “the court’s
                26    power to dismiss an indictment on the grounds of prosecutorial misconduct is frequently discussed
                27    but rarely invoked.” United States v. Samango, 607 F.2d 877, 881 (9th Cir. 1979).
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U.S. District Judge                                                   -2-
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                  1            In the instant case, without pointing to any constitutional or statutory right, the defendant
                  2   argues that “to preserve judicial integrity” the case must be dismissed based on investigators’
                  3   improper use of intimidating and coercive interview tactics. The defendants allege that investigators
                  4   pressured and intimated witnesses under threats of prosecutorial retaliation during pre-indictment
                  5   investigation, specifically when conducting interviews of witnesses and obtaining documents. (Doc.
                  6   # 75).
                  7            A statement is involuntary if it is “extracted by any sort of threats or violence, [or] obtained
                  8   by any direct or implied promises, however slight, [or] by the exertion of any improper influence.”
                  9   Hutto v. Ross, 429 U.S. 28, 30 (1976) (quoting Bram v. United States, 168 U.S. 532, 542–43 (1897));
                10    See also United States v. Crawford, 372 F.3d 1048, 1060 (9th Cir. 2004); United States v. Haswood,
                11    350 F.3d 1024, 1027 (9th Cir. 2003) (holding that a “confession is involuntary if coerced either by
                12    physical intimidation or psychological pressure”). Furthermore, “a promise of leniency accompanied
                13    by threats or other coercive practices constitutes improper influence and makes a subsequent
                14    inculpatory statement involuntary.” United States v. Tingle, 658 F.2d 1332, 1336 (9th Cir.1981) (the
                15    defendant's confession was involuntary when it was induced by an interrogating officer who accused
                16    the defendant of lying, recited the maximum penalties of crimes that could be charged, threatened
                17    the defendant that she might not see her two-year-old child if she went to prison, and promised the
                18    defendant that the agent would inform the prosecutor if she cooperated or refused to cooperate).
                19             However, this broadly-stated rule has not been applied to invalidate, per se, all statements
                20    made by a suspect in response to a promise made by law enforcement personnel. The promise must
                21    be sufficiently compelling to overbear the suspect's will in light of all attendant circumstances. Leon
                22    Guerrero, 847 F.2d at 1366; Hutto, 429 U.S. at 30. In determining whether a defendant's confession
                23    was voluntary, the question is “whether the defendant's will was overborne at the time he confessed.”
                24    Clark v. Murphy, 331 F.3d 1062, 1072 (9th Cir. 2003), cert. denied, 540 U.S. 968 (2003) (quoting
                25    Haynes v. Washington, 373 U.S. 503, 513 (1963)). Moreover, psychological coercion does not
                26    invoke a per se rule and “[the court] must consider the totality of the circumstances involved and
                27    their effect upon the will of the defendant.” United States v. Miller, 984 F.2d 1028, 1030-31 (9th Cir.
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U.S. District Judge                                                     -3-
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                  1   1993) (citing Schneckloth v. Bustamonte, 412 U.S. 218, 226–27, 93 S.Ct. 2041, 36 L.Ed.2d 854
                  2   (1973)).
                  3          Specifically, “an interviewing agent’s suggestion that a suspect's cooperation with the
                  4   government will have a positive effect on the suspect's possible sentence is not an improper
                  5   inducement that causes the suspect's later testimony for the government to be involuntary.” United
                  6   States v. Leon Guerrero, 847 F.2d 1363, 1366 (9th Cir. 1988); Williams v. Woodford, 384 F.3d 567,
                  7   594-95 (9th Cir. 2004) (finding that statements by the police implying that suspect would not receive
                  8   jail time on his drug charge so long as he testified against defendant, did not render trial testimony
                  9   against defendant involuntary); see also United States v. Moody, 778 F.2d 1380, 1384–85 (9th Cir.
                10    1985) (witness testimony provided pursuant to a plea agreement was not involuntary or coerced).
                11    This applies even when a promise to inform the government about a suspect's cooperation is
                12    accompanied by a promise to recommend leniency or by speculation that cooperation will have a
                13    positive effect. United States v. Leon Guerrero, 847 F.2d 1363, 1366 (9th Cir. 1988); see United
                14    States v. Brandon, 633 F.2d 773, 777 (9th Cir. 1980); United States v. Glasgow, 451 F.2d 557, 558
                15    (9th Cir. 1971); Fernandez–Delgado v. United States, 368 F.2d 34, 35–36 (9th Cir. 1966).
                16           In examining the record, none of the statements made by investigators are sufficient to
                17    jeopardize having the “conviction rest[] on appropriate considerations, validly before a jury,” or to
                18    otherwise constitute coercion. The investigators did suggest that suspects may “become co-
                19    defendant[s],” would be indicted if they did not cooperate, should be concerned about their future,
                20    that helping defendants would cause “problems,” and encouraged them to “make [a] deal[]” with the
                21    government. (Doc. # 50). However, there are no threats of violence, implied or direct promises, or
                22    promises of leniency accompanied by threats. Therefore, the magistrate judge was correct in finding
                23    there was no investigative misconduct.
                24           B.      Investigative Delay
                25           To succeed on a claim of pre-indictment delay based on denial of due process, the defendant
                26    must satisfy a two prong test, showing that (1) actual, non-speculative prejudice resulted from the
                27    delay, and (2) the length of the delay, weighted against the reasons for the delay, “offends
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U.S. District Judge                                                   -4-
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                  1   fundamental concepts of justice which are the base of our civil and political institutions.” United
                  2   States v. Corona-Verbera, 509 F.3d 1005, 1112 (9th Cir. 2007).
                  3             The defendant speculates, without support, that witnesses will not testify and that potential
                  4   jurors will be more difficult to select because of a negative bias against defendants in criminal cases
                  5   regarding home mortgages. Both of these assertions are premature and insufficiently specific to
                  6   constitute “actual, non-speculative prejudice.” See, e.g., United States v. Gilbert, 266 F.3d 1180,
                  7   1187 (9th Cir. 2001) (“[B]urden of showing actual prejudice is heavy and rarely met.”); United
                  8   States v. Manning, 56 F.3d 1188, 1194 (9th Cir. 1995) (“Generalized assertions of the loss of
                  9   memory, witnesses, or evidence are insufficient to establish actual prejudice.”). Therefore, the
                10    magistrate judge was correct in denying the defendant’s claim of investigative delay as no actual
                11    prejudice exists.
                12              C.     Conspiracy and Statute of Limitations
                13              “[S]tatutes [that] limit[] how much time the government has to indict an alleged violator once
                14    a conspiracy is complete, . . . [do] not limit the temporal scope of a conspiracy for which a violator
                15    is liable.” Flintkote Co. v. United States, 7 F.3d 870, 873 (9th Cir. 1993). Therefore so “long as some
                16    part of the conspiracy [occurred within the statute of limitations] preceding the indictment, the
                17    statute of limitations [should] not insulate from criminal liability.” Flintkote Co., F.3d at 873; see
                18    United States v. Walker, 653 F.2d 1343, 1347 (9th Cir. 1981), cert. denied, 455 U.S. 908 (1982);
                19    United States v. Inryco, Inc., 642 F.2d 290, 293 (9th Cir. 1981), cert. dismissed, 454 U.S. 1167
                20    (1982).
                21              The parties agree that the conspiracy ended in November 2009, that some of the entities
                22    involved in the alleged illegal transactions at the time were not defined as “financial institutions,”
                23    and that these entities were subject to a shorter, five-year statute of limitations. However, the
                24    defendant objects to the recommendation of the magistrate judge on the grounds that the first count
                25    of the indictment, alleging conspiracy to commit fraud, is (at least in part) barred by the statute of
                26    limitations.
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U.S. District Judge                                                     -5-
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                  1           Title 18 U.S.C. 3293(2) was amended in 2009 to include mortgage lending businesses as
                  2   financial institutions, thereby increasing the statute of limitations for fraud against such businesses
                  3   from five years to ten years. The defendant argues that allowing the government to maintain all 233
                  4   transactions would constitute a retroactive application of the new definition in violation of the ex
                  5   post facto clause of the Constitution because a “non-financial institution identified during the alleged
                  6   conspiracy [cannot] serve as a basis for a charge of [c]onspiracy to [c]ommit [b]ank [f]raud or
                  7   substantive [b]ank [f]raud.” Id. The defendant concedes that the government would be able to
                  8   prosecute some of the transactions in count one, so long as they were with FDIC insured lenders, but
                  9   argues that the government must be required to “resubmit the instant matter to the grand jury, as they
                10    tainted the presentation with inadmissible and time barred evidence.” Id.
                11            However, because conspiracy does not require that all conduct undergone in furtherance of
                12    the conspiracy fall within the applicable statute of limitations, the defendant’s arguments fail. It is
                13    undisputed that some of the 233 properties referred to in the first count fall within the statute of
                14    limitations and therefore the magistrate judge was correct in refusing to make a summary disposition
                15    of the entire count based on a portion of the evidence. The magistrate judge was also correct in his
                16    conclusion that whether the defendant’s conduct “affected a financial institution [under section
                17    3293(2)],” is an issue “directly intermeshed with questions going to a material element of the charge,
                18    and therefore, falls ‘within the province of the ultimate finder of fact and must be deferred.’” (Doc.
                19    # 76, p. 6).
                20    IV.     Conclusion
                21            The magistrate judge was correct in determining that there was no evidence of investigative
                22    misconduct or investigate delay. The investigators engaged in proper interview tactics, well within
                23    their discretion, and brought the indictment in a timely manner without prejudicing the defendant.
                24            Furthermore, the magistrate judge was correct in determining that the conspiracy charge
                25    should not be dismissed based on its inclusion of some transactions which fall outside of the statute
                26    of limitations.
                27    ...
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U.S. District Judge                                                    -6-
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                  1           Accordingly,
                  2           IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the magistrate judge’s
                  3   reports and recommendations (docs. # 75, 76) be, and the same hereby are, ADOPTED in their
                  4   entireties.
                  5           IT IS FURTHER ORDERED that the defendant’s motion to dismiss count one (doc. # 49)
                  6   and motion to dismiss the indictment (doc. # 50) be, and the same hereby are, DENIED.
                  7           DATED July 7, 2014.
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                                                          UNITED STATES DISTRICT JUDGE
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U.S. District Judge                                                -7-
